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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CITY AND COUNTY OF SAN                             Case No. 18-cv-07591-CRB (JSC)
                                         FRANCISCO, et al.,
                                   8                      Plaintiffs,                       DISCOVERY ORDER NO. 4
                                   9               v.                                       Dkt. Nos. 433, 436, 442
                                  10
                                         PURDUE PHARMA L.P., et al.,
                                  11                      Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The parties appeared before the Court for a Discovery Status Conference on January 28,

                                  14   2021. This Order confirms the matters discussed during that hearing and, after consultation with

                                  15   Judge Breyer, sets new case deadlines.

                                  16          1.        Document discovery – the parties shall complete their meet and confer regarding

                                  17   the outstanding document discovery (Plaintiffs to Allergan and Walgreens to Plaintiffs) by

                                  18   February 4, 2021. To the extent that disputes remain following that meet and confer, the parties

                                  19   shall present those to the Court in accordance with the Court’s Order re: Discovery Letter Brief

                                  20   Procedure. (Dkt. No. 331.)

                                  21          2.        Walgreens discovery – Walgreens shall produce prescribing data for the nine Bay

                                  22   Area counties (San Francisco, Alameda, Contra Costa, Sonoma, Marin, San Mateo, Santa Clara,

                                  23   Solano and Napa). With respect to the remaining disputes, the parties shall complete their meet

                                  24   and confer by February 4, 2021, and if necessary, submit a joint discovery letter brief in

                                  25   accordance with the Court’s procedure.

                                  26          3.        Depositions – the parties shall meet and confer regarding whether to agree to an

                                  27   hours limit, rather than a number of depositions limit, for depositions. The Court notes that

                                  28   complete parity in the number of depositions or deposition hours is not necessary provided
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                                   1   Defendants agree that Plaintiffs’ can use depositions taken in the other cases. The parties shall

                                   2   complete the meet and confer within two weeks of this Order and then follow the discovery letter

                                   3   brief procedure, if necessary.

                                   4            4.     Next Discovery Conference – February 23, 2020 at 8:30 a.m. via Zoom webinar.

                                   5            5.     Case Schedule

                                   6                  Event                     Previous Schedule                  New Schedule
                                   7

                                   8    Substantial Completion           February 26, 2021                 February 26, 2021
                                   9    Document Production
                                  10    Close of Fact Discovery          May 28, 2021                      July 2, 2021
                                  11    Plaintiff’s Expert Disclosures   April 16, 2021                    May 21, 2021
                                  12    Defendants’ Expert                                                 July 23, 2021
Northern District of California
 United States District Court




                                  13    Disclosures
                                  14    Parties Exchange Rebuttal        July 16, 2021                     August 20, 2021
                                  15    Reports
                                  16    Close of Expert Discovery        July 30, 2021                     September 3, 2021
                                  17    SJ/Daubert Motions Due           August 20, 2021                   September 24, 2021
                                  18    SJ/Daubert Oppositions Due       September 17, 2021                October 22, 2021
                                  19    SJ/Daubert Replies Due           October 1, 2021                   November 5, 2021
                                  20    Trial Materials Due              October 8, 2021                   November 12, 2021
                                  21    Final Pretrial Conference        October 15, 2021                  November 19, 2021
                                  22
                                        Trial                            October 25, 2021                  December 6, 2021
                                  23
                                                IT IS SO ORDERED.
                                  24
                                       Dated: January 29, 2021
                                  25

                                  26                                                                JACQUELINE SCOTT CORLEY
                                                                                                    United States Magistrate Judge
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